                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

JOSHUA HARMS,

       Plaintiff,                                              Case No.: 5:18-cv-4023

vs.

CITY OF SIBLEY, IOWA, GLENN                          JOINT MOTION FOR A STIPULATED
ANDERSON, Sibley City Administrator, in his                   INJUNCTION
individual and official capacity, and SUSAN
SEMBACH, Sibley City Clerk, in her
individual and official capacity,

       Appellee.


       COME NOW the Plaintiff Joshua Harms by and through counsel and the Defendants City

of Sibley, Iowa, Glenn Anderson, and Susan Sembach by and through counsel and move this

Court for a Stipulated Injunction as follows:

       1.      On March 8, 2018, the Plaintiff filed a Complaint in the United States District

Court for the Northern District of Iowa against the Defendants. That Complaint lists various

actions which the Plaintiff contends are violative of his First Amendment rights.

       2.        While the Defendants do not admit to every allegation in the Plaintiff’s

complaint, the parties jointly stipulate to the facts contained in the accompanying proposed

Stipulated Injunction.

       3.      The parties jointly pray that the Court enter the Stipulated Injunction and that

such injunction resolve the Plaintiff’s Complaint.

       WHEREFORE, the Plaintiff Joshua Harms and the Defendants City of Sibley, Iowa,

Glenn Anderson, and Susan Sembach jointly pray that the Court enter the attached Stipulated

Injunction.




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Respectfully submitted,                  Respectfully submitted,

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Original filed.




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                                        CERTIFICATE OF SERVICE

          I hereby certify that on this date, I electronically filed the foregoing paper with the Clerk

of Court by using the CM/ECF system.

          All participants in this case are registered CM/ECF users and will served by the CM/ECF

system.

          Date: March 27, 2018

                                                                                           /s/Rita Bettis
                                                                                              Rita Bettis




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